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 5   Attorney for Defendant,
     Melanie Christine Belger
 6
                            UNITED STATES DISTRICT COURT
 7
                            FOR THE DISTRICT OF COLUMBIA
 8
     UNITED STATES OF AMERICA,             Case No. 23-cr-00198-ACR
 9
               Plaintiff,                  STIPULATION TO CONTINUE
10                                         SENTENCING
                    v.
11                                         OLD SENTENCING DATE:
     MICHELE ALEXANDRA ESTEY, and          January 24, 2024
12   MELANIE CHRISTINE BELGER,
                                           NEW SENTENCING DATE:
13             Defendants.                 February 26, 2024 at 3:15 p.m.

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15

16
          IT IS HEREBY STIPULATED AND AGREED by and between defendants
17
     Michelle Alexandra Estey, Melanie Christine Belger, by and through
18
     their counsels of record, Dennis Gaughan and Jeffrey D. Kent,
19
     respectively, and plaintiff United States of America, by and through
20
     its counsel of record, the United States Attorney for the District
21
     of Columbia, as follows:
22
          1.   Defendant’s sentencing hearing is currently scheduled for
23
     January 25, 2025 at 4:00 p.m.
24
          2.   Counsel for defendants have recently received the
25
     Government’s Sentencing Memorandum and specific videos being used as
26
     exhibits therein. Counsel need additional time to review those
27

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           Case 1:23-cr-00198-ACR Document 47 Filed 01/16/24 Page 2 of 2



 1   videos in order to address some of the issues raised in the

 2   government’s brief.

 3        3.   Accordingly, the parties believe it is in the best

 4   interest of the case for defendants’ sentencing date to be continued

 5   to February 26, 2024 at 3:15 p.m.

 6
      Dated: January 14, 2024              /s/Jeffrey D. Kent              _
 7                                      JEFFREY D. KENT
                                        Attorney for Defendant
 8                                      MELANIE CHRISTINE BELGER
 9
     Dated: January 14, 2024               /s/Dennis Gaughan   _
10                                      DENNIS GAUGHAN
                                        Attorney for Defendant
11                                      MICHELLE ALEXANDRA ETSEY
12

13   Dated: January 16, 2024            MATTHEW GRAVES
                                        United States Attorney
14

15
                                           /s/ Zachary Phillips
16                                      Zachary Phillips
                                        Assistant United States Attorney
17                                      Attorneys for Plaintiff
                                        UNITED STATES OF AMERICA
18
                                       [Digitally signed by JDK pursuant to
19                                     text authorization January 15 & 16,
                                       2024]
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